CRIMINAL MINUTES TIME: 10 minutes
MAGISTRATE JUDGE BROWN RECORDING: 17mar2014

UNITED STATES OF AMERICA v. JOVAN TAYLOR

CRIMINAL CASE NO.: 14-3242MB OUT OF DISTRICT CASE NO.:
INTERPRETER REQUIRED: LANGUAGE:

GOVERNMENT ATTORNEY: Lynne Ingram

DEFENDANT’S ATTORNEY: James J. Ramsey

PROBATION/PRETRIAL SERVICES OFFICER: Maria Johnson

 

 

INITIAL HEARING HELD: 3/17/2014 Defendant Arrested/Summons: 3/17/2014
Defendant has a copy of and was advised of contents of:
Complaint Indictment Y Other
Information 7 Supervised/Pretrial Release Petition
Defendant advised of constitutional: rights NO
Defendant advised of right to preliminary hearing NO YES
Financial Affidavit filed — NO
Federal Public Defender appointed | NO
Government filed motion for Detention NO
Defendant temporarily detained NO
Defendant is in State custody _ NO YES
Defendant released on Bond/Conditions of Release
PRELIMINARY/IDENTITY HEARING HELD: WAIVED :
Defendant: Bound Over > Discharges

Held to Answer in District of Prosecution
Held for Revocation Hearing
DETENTION HEARING HELD: a, WAIVED:
Bond set at: ‘
Released on:
Defendant detained until trial, order to enter:

 

 

 

GRAND JURY WAIVED IN OPEN COURT:

 

ARRAIGNMENT HELD: . ‘ WAIVED :
Defendant acknowledges he/she has" a. copy of Indictment/Information
Waives reading thereof; ro PLEA: GUILTY NOT GUILTY _

Defendant did not appear; bench warrant issued:
Intends to plead guilty and referred to District Judge:
Defendant consented to trial before Magistrate Judge:

 

PRELIMINARY /DETENTION/ARRAIGNMENT HEARING CONTINUED TO:

 

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